UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    ) NOTICE OF APPEARANCE AND REQUEST
            v.                      )      FOR ELECTRONIC NOTIFICATION
                                    )                     24 Cr. 556 (DEH)
ERIC ADAMS,                         )
                                    )
                     Defendant.     )
____________________________________)

TO:     Clerk of Court
        United States District Court
        Southern District of New York

        The undersigned attorney respectfully requests the Clerk to note his appearance in this case

and to add him as a Filing User to whom Notices of Electronic Filing will be transmitted in this

case.

                                                      Respectfully submitted,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney for the
                                                      Southern District of New York



                                                      by: /s/ Hagan Scotten
                                                         Hagan Scotten
                                                         Assistant United States Attorney
                                                         (212) 637-2410
